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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

TAMMY CAGLE,                                      )
                                                  )
         Plaintiff,                               )
                                                  )
                 v.                               )   Case No. 3:18-cv-10123-KAR
                                                  )
THOMAS ESTES and BEHAVIORAL                       )
HEALTH NETWORK, INC.,                             )
                                                  )
         Defendants.                              )

     MEMORANDUM AND ORDER REGARDING DEFENDANT BEHAVIORAL HEALTH
             NETWORK, INC.'S MOTION FOR SUMMARY JUDGMENT
                               (Dkt. No. 85)

ROBERTSON, U.S.M.J.

         I.      INTRODUCTION

         Plaintiff Tammy Cagle ("Plaintiff") alleges that Thomas Estes ("Estes") and Behavioral

Health Network, Inc. ("BHN") (collectively, "Defendants") created a hostile work environment

in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e, et seq. ("Title

VIII") and Mass. Gen. Laws ch. 151B ("Chapter 151B"). BHN has moved for summary

judgment on the grounds that it neither knew nor should have known about Estes' alleged sexual

harassment of Plaintiff during her tenure as a specialty court clinician for the Pittsfield Drug

Court (Dkt. No. 85).1 The parties have consented to this court's jurisdiction. See 28 U.S.C. §

636(c); Fed. R. Civ. P. 73. For the reasons that follow, BHN's motion for summary judgment is

GRANTED.




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    Estes has moved for summary judgment in a separate motion (Dkt. No. 82).


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       II.     BACKGROUND2

       A.      Massachusetts Drug Courts

       The Massachusetts Trial Court Department ("Trial Court") developed specialty drug

courts "to provide the option of treatment as an alternative to incarceration in cases where the

underlying criminal behavior is thought to be motivated by a defendant's substance abuse" (Dkt.

No. 100 at 29 ¶ 1). Deputy Chief Counsel for Pub. Def. Div. of Comm. for Pub. Council Servs. v.

Acting First Justice of Lowell Div. of Dist. Court Dept., 74 N.E.3d 1250, 1252 (Mass. 2017).

"Drug courts are defined as 'problem-solving courts that operate under a specialized model . . . '

with the ultimate goal of public safety and reduction of recidivism." Id. (citation omitted).

       "The structure of the drug court is informed by 'evidence-based best practices'

emphasizing the necessity of a team approach to the development and oversight of the

defendant's prescribed course of substance abuse treatment" (Dkt. No. 100 at 29 ¶ 3, at 32 ¶ 27).

Id. (citation omitted). The drug court judge leads a team that generally includes a probation

officer(s), program coordinator, specialty court clinician, clerk, prosecutor, defense attorney, and

treatment providers (Dkt. No. 100 at 29 ¶¶ 2, 3). See id. at 1252-53. The drug court judge, in

collaboration with team members, determines whether a particular criminal defendant is eligible

to participate in the drug court and crafts treatment plans for the drug court defendants (Dkt. No.

100 at 7 ¶ 10, at 30 ¶ 4, at 31 ¶¶ 16, 19). The judge makes the ultimate decisions in a drug court

case, including the acceptance of a participant, the imposition of incentives or sanctions, and the



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  Unless another source is cited, the facts are drawn from BHN's Statement of Material Facts
(Dkt. No. 87); Plaintiff's Responses to BHN's Statement of Facts and Plaintiff's Statement of
Additional Facts (Dkt. No. 100); and BHN's Reply to Plaintiff's Response to Statement of
Material Facts (Dkt. No. 103). In accordance with the summary judgment standard, the evidence
is viewed in the light most favorable to Plaintiff, the nonmoving party. See Mesnick v. Gen.
Elec. Co., 950 F.2d 816, 820 (1st Cir. 1991).


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removal of the defendant from the drug court (Dkt. No. 100 at 30 ¶ 4, at 31 ¶¶ 16, 19, 20). The

probation department ("Probation") reviews each potentially eligible criminal defendant and

presents each potential referral to the presiding judge for review (Dkt. No. 100 at 31 ¶ 17).3 As

part of his evaluation, the presiding judge can require that the defendant be assessed by the

specialty court clinician (Dkt. No. 100 at 31 ¶ 18). The specialty court clinician assesses each

defendant's viability as a drug court participant, recommends appropriate treatment options for

each defendant, and informs the drug court team on clinical perspectives (Dkt. No. 100 at 9 ¶ 23,

at 30 ¶ 6). The drug court coordinator "'takes on some of the administrative duties that would

otherwise fall to the probation officer and/or specialty court clinician. These responsibilities

include fostering a relationship with treatment providers, wrap around services, and community

groups, and assisting with data collection and data entry'" (Dkt. No. 100 at 30 ¶ 7 (citation

omitted)). The judge can remove any member of the drug court team except a defense attorney

for an indigent defendant who is alleged to have violated the terms of his or her probation (Dkt.

No. 100 at 30 ¶¶ 8, 12). See Deputy Chief Counsel for Pub. Def. Div. of Comm. for Pub. Council

Servs., 74 N.E.3d at 1258 ("Counsel assigned by CPCS may be removed only for cause after a

hearing.").

       B.      The Pittsfield Drug Court

       During the winter of 2016, Estes, the former First Justice of the Eastern Hampshire

District Court in Belchertown, was appointed to preside over the newly-formed Pittsfield Drug




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  "Typically, a defendant must meet three eligibility criteria for admission to the drug court: (1)
the defendant must have a substance use disorder; (2) the defendant must have been found guilty,
pleaded guilty, or admitted to sufficient facts for a continuance without a finding; and (3) the
defendant must have been placed on supervised probation." Deputy Chief Counsel for Pub. Def.
Div. of Comm. for Pub. Counsel Servs., 74 N.E.3d at 1253.


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Court (Dkt. No. 1 ¶ 23; Dkt. No. 100 at 6 ¶ 6, at 30 ¶ 9). Estes was tasked with "'build[ing] the

whole thing'" (Dkt. No. 100 at 30 ¶ 11). He participated in training sessions, then assisted in

hiring the drug court staff and attended staffing and community meetings (Dkt. No. 100 at 30 ¶

11). Although the Pittsfield District Court Probation Department did not participate in the

decision to form the Pittsfield Drug Court and allegedly opposed its creation, Deputy Chief

Probation Officer John Lander and Probation Officer Mark Carnavale were members of the drug

court team (Dkt. No. 100 at 7 ¶ 9, at 30 ¶ 10, at 41 ¶ 113). The Pittsfield team also included two

prosecutors, a public defender, treatment providers from the local community, and Plaintiff, who

was hired to be the drug court coordinator and specialty court clinician (Dkt. No. 100 at 7 ¶ 9).

       C.      Plaintiff was Hired to be the Specialty Court Clinician for the Pittsfield Drug
               Court in July 2016

       The Department of Mental Health ("DMH") had an interdepartmental service agreement

with the Trial Court to provide services to the specialty drug courts (Dkt. No. 100 at 6 ¶ 4).

DMH, in turn, contracted with BHN, a behavioral health and substance abuse service provider, to

staff the drug courts with clinicians (Dkt. No. 100 at 5 ¶¶ 1- 3).

       Plaintiff applied to be BHN's clinician for the new Pittsfield Drug Court (Dkt. No. 100 at

33 ¶ 37). John Barber, the DMH Area Program Director, reviewed Plaintiff's resumé (Dkt. No.

100 at 34 ¶ 38). In June 2016, Dr. Welli Yeh, BHN's Forensic Services Director, and Susan

Mailler, a BHN court clinician who was assigned to the Orange, Greenfield, and Springfield

specialty courts, interviewed Plaintiff for the drug court position (Dkt. No. 100 at 34 ¶ 39). In

accordance with the specialty court's "'protocol,'" Dr. Yeh needed Estes' approval before she

could hire Plaintiff (Dkt. No. 100 at 34 ¶¶ 40, 41). On June 24, 2016, Dr. Yeh forwarded

Plaintiff's resumé to Estes along with a note indicating that the Acting Assistant Commissioner

of DMH had given Dr. Yeh the go-ahead to hire Plaintiff if Estes approved despite the fact that

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Plaintiff was not yet licensed (Dkt. No. 100 at 33 ¶ 37, at 34 ¶ 42). Estes and Dr. Yeh

interviewed Plaintiff in late June 2016 (Dkt. No. 100 at 34 ¶¶ 44, 45).

       On June 28, 2016, Dr. Yeh emailed Estes asking for his impression of Plaintiff and

whether she had his "'seal of approval'" (Dkt. No. 100 at 34 ¶ 46). Estes responded, "'I liked her

a lot. Let's hire her'" (Dkt. No. 100 at 34 ¶ 47). On July 1, 2016, Estes' email message informed

Judge Mary Hogan Sullivan, the Trial Court's Director of Specialty Courts, that he had

interviewed Plaintiff, "'liked her very much,'" and agreed that she should be hired as the drug

court clinician for the Pittsfield Drug Court contingent on her obtaining her license (Dkt. No. 100

at 35 ¶ 49). Dr. Yeh of BHN informed Barber that Estes had "'approved'" Plaintiff's hiring as the

drug court clinician for the Pittsfield Drug Court (Dkt. No. 100 at 8 ¶ 14, at 33 ¶ 35, at 35 ¶¶ 50,

52). On July 5, 2016, Dr. Yeh notified Estes and Barber that she had hired Plaintiff for the part-

time position (Dkt. No. 100 at 8 ¶ 14, at 35 ¶¶ 51, 52).

       Plaintiff began working in the drug court on July 18, 2016 (Dkt. No. 100 at 35 ¶ 54).

Although she was hired by BHN, her office was located in the Pittsfield District Court (Dkt. No.

100 at 35 ¶ 54). She had no immediate supervisor until BHN hired David DiSessa on August 1,

2016 (Dkt. No. 100 at 8 ¶ 17, at 35 ¶ 56). DiSessa had no experience with drug courts or

supervising drug court team members (Dkt. No. 100 at 36 ¶ 57). DiSessa first met with Plaintiff

at a Friendly's restaurant in Westfield on September 16, 2016 (Dkt. No. 100 at 36 ¶¶ 59, 60). He

continued to conduct his supervisory meetings at the Westfield Friendly's because he worked in

Springfield (Dkt. No. 100 at 36 ¶¶ 60, 65). DiSessa attended three or four staffing meetings

during Plaintiff's eight-month tenure at the Pittsfield Drug Court (Dkt. No. 100 at 36 ¶ 65). Two

of those meetings occurred after the court began accepting participants in October 2016 (Dkt.

No. 100 at 31 ¶ 15, at 36 ¶ 65, at 54 ¶ 224). From November 2016 to January 2017, DiSessa's



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BHN supervisor and Barber were concerned that DiSessa's supervision of Plaintiff was

inadequate (Dkt. No. 100 at 37 ¶¶ 69-77).

       Juliana Reiss, Psy.D., who replaced Dr. Yeh as BHN's Forensic Services Director in

September 2016, supervised DiSessa and Plaintiff (Dkt. No. 100 at 8 ¶ 18, at 10 ¶ 29, at 36 ¶ 61).

Like DiSessa, Reiss did not have experience working in a drug court (Dkt. No. 100 at 36 ¶ 62).

Reiss attended two staffing meetings while Plaintiff was employed in the drug court and a "few"

of the monthly meetings that Barber held with specialty court clinicians (Dkt. No. 100 at 36 ¶¶

66-68). Although, like Plaintiff, Reiss had an office in the Pittsfield District Court, Plaintiff

alleged that she did not see Reiss every week (Dkt. No. 100 at 10 ¶¶ 29, 30).

       When Plaintiff was hired by the drug court, Mailler, a BHN clinician, had been working

for a year in the drug courts in Orange and Greenfield and in the mental health specialty court in

Springfield (Dkt. No. 100 at 38 ¶ 81). Plaintiff routinely consulted Mailler, who reviewed

Plaintiff's work and assisted her with drug court planning (Dkt. No. 100 at 38 ¶¶ 82, 84). Reiss

described Mailler as Plaintiff's "'informal supervisor'" and "'mentor'" (Dkt. No. 100 at 38 ¶¶ 86,

87). Mailler characterized herself as Plaintiff's supervisor on an employment recommendation

form (Dkt. No. 100 at 39 ¶ 88).

       D.      Plaintiff's Participation in Establishing the Framework for the Pittsfield Drug
               Court from July 2016 to October 2016

       Plaintiff's initial duties consisted of developing a drug court manual and researching

community treatment options for drug court participants (Dkt. No. 100 at 9 ¶ 22). On July 22,

2016, four days after Plaintiff began working in the drug court, she and Estes participated in a

drug court meeting with eighty attendees (Dkt. No. 100 at 39 ¶ 89). Estes directed Plaintiff to

speak at the meeting then apologized for putting her on the spot and gave her his personal cell

phone number (Dkt. No. 100 at 39 ¶¶ 89, 90).

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        When Estes returned from a three-week vacation on August 15, 2016, Plaintiff requested

a meeting to bring him up-to-date on the drug court's status (Dkt. No. 100 at 39 ¶¶ 91, 92). Estes

suggested that they meet at the Belchertown District Court (Dkt. No. 100 at 39 ¶ 92).

        During the fall of 2016, Plaintiff and Estes met in his Belchertown chambers every week

or every other week to discuss the contents of the drug court manual, which required Estes'

approval, the substance abuse treatment options in the Pittsfield area, drug court participants, and

Plaintiff's job performance (Dkt. No. 100 at 10 ¶ 27, at 39 ¶ 93, at 40 ¶¶ 101, 103-05). Plaintiff

spent about five hours of her twenty-hour week at private meetings with Estes in Belchertown

(Dkt. No. 100 at 39 ¶ 94). She was the only drug court team member with whom Estes met in

his Belchertown chambers (Dkt. No. 100 at 39 ¶ 96). Plaintiff told DiSessa, Mailler, and Lander

that she and Estes met privately in Belchertown (Dkt. No. 100 at 39-40 ¶¶ 98, 99, 100).

        E.      The Pittsfield Drug Court Began Holding Sessions in October 2016

        The drug court accepted its first participant in October 2016 (Dkt. No. 100 at 31 ¶ 15).

As the presiding judge, Estes set the court's hours and presided over the weekly drug court

sessions on Thursdays (Dkt. No. 100 at 6 ¶ 7, at 31 ¶ 13). "In preparation for each drug court

session, the team [was] assembled for a 'staffing,' the purpose of which [was] to review the

progress of each drug court defendant who [was scheduled to] appear before the court that day"

(Dkt. No. 100 at 7 ¶ 8, at 30 ¶ 5). Deputy Chief Counsel for Pub. Def. Div. of Comm. for Pub.

Council Servs., 74 N.E.3d at 1253. Estes scheduled the regular staffing meetings (Dkt. No. 100

at 30 ¶ 5, at 31 ¶ 13).

        F.      Plaintiff's Relationship with the Pittsfield District Court's Probation
                Department from August 2016 to March 2017

        Because the drug courts focused on treatment, as opposed to punishment, the roles of the

probation officers who were members of the drug court team differed from the roles of probation

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officers in the traditional criminal courts (Dkt. No. 100 at 31 ¶ 21, at 32 ¶¶ 22, 26). In the

criminal court setting, probation officers made treatment recommendations, monitored

probationers, and generally had "'much more autonomy'" than they had in the drug courts where

drug court clinicians also recommended treatment programs and participated in the

determination of probationers' sentences (Dkt. No. 100 at 32 ¶¶ 22, 23, at 41 ¶ 117).

       There was friction between Plaintiff and the drug court team's probation officers from the

beginning of Plaintiff's tenure in the drug court (Dkt. No. 100 at 15 ¶ 48). Pittsfield Probation

Chief Matthew Stracuzzi turned to Estes for assistance in addressing the probation department's

relationship with Plaintiff who they viewed as overstepping the boundaries of her position (Dkt.

No. 100 at 16 ¶ 53, at 53 ¶ 214).

       While Estes was on vacation in August 2016 during Plaintiff's first month in Pittsfield,

Probation refused her requests to meet to discuss the drug court (Dkt. No. 100 at 41 ¶ 112). On

August 31, 2016, Plaintiff told Mailler that the Pittsfield Probation Department did not want a

drug court and wanted to exclude her from the courtroom during drug court sessions (Dkt. No.

100 at 42 ¶¶ 120-23). Plaintiff indicated, "I have to get them to think like a treatment team"

(Dkt. No. 100 at 42 ¶ 123). Mailler made Reiss aware that Plaintiff was experiencing "'probation

resistance'" (Dkt. No. 100 at 42 ¶¶ 124, 125). The next day, September 1, 2016, Plaintiff again

sought Mailler's guidance on a Probation-related issue and also contacted Reiss (Dkt. No. 100 at

42 ¶ 126, at 43 ¶ 128). Plaintiff told Reiss that she and Probation were not working as a team

(Dkt. No. 100 at 43 ¶ 130). Specifically, she was receiving pushback from Probation in general

and from Stracuzzi in particular (Dkt. No. 100 at 43 ¶ 130). Plaintiff alleged that the probation

officers were excluding her from participating in the development of drug court treatment plans

and wanted to exclude her from the courtroom during drug court sessions (Dkt. No. 100 at 43 ¶



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130). On September 6 and 16, 2016, Reiss contacted Estes to discuss the need for a meeting to

clarify Plaintiff's and Probation's respective roles on the drug court team (Dkt. No. 100 at 43 ¶

134, at 44 ¶ 139).

          From the outset of Plaintiff's employment, Estes sensed "'tension'" and "mistrust"

between Plaintiff and the drug court's probation officers, Stracuzzi, Lander, and Carnevale (Dkt.

No. 100 at 41 ¶¶ 113, 115). Estes observed that the probation officers "'cross[ed] the lane into

making [treatment] recommendations'" (Dkt. No. 100 at 42 ¶ 118). He attempted to mediate the

conflicts between Plaintiff and Probation by pointing out that it was Plaintiff's job to make

treatment recommendations, Probation's responsibility to monitor the participants' progress in

treatment, and his job to decide the best treatment option (Dkt. No. 100 at 41 ¶ 116, at 42 ¶ 119).

He advised everyone to "stay in their lanes" in order to avoid disagreements (Dkt. No. 100 at 41

¶ 116).

          Plaintiff complained about her relationship with the drug court's probation officers when

she met with her supervisor, DiSessa, and at the monthly specialty court clinicians' meetings that

Barber convened (Dkt. No. 100 at 16 ¶ 49, at 43 ¶ 133, at 45 ¶ 149). DiSessa indicated that,

during his discussions with Plaintiff at the Westfield Friendly's, she frequently recounted

incidents when probation officers "'treated her poorly . . . yelled at her [and] were rude to her'"

(Dkt. No. 100 at 43 ¶ 133). DiSessa noted "'tension'" among all members of the drug court team

during the two staffing meetings that he attended between November 2016 and March 2017

(Dkt. No. 100 at 54 ¶ 224, 225). At the DMH clinicians' meetings, Plaintiff indicated that she

and Estes shared similar views with respect to treatment options for drug court participants, but

Probation did not understand the purpose of the drug court or the type of treatment that the

participants required (Dkt. No. 100 at 45 ¶¶ 149, 150).



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       The use of the Office of Community Corrections ("CC") as a treatment option for drug

court participants was an ongoing source of contention between Plaintiff and the Pittsfield Drug

Court's probation officers (Dkt. No. 100 at 44 ¶ 136). CC was an agency of the Trial Court that

offered intermediate sanctions (Dkt. No. 100 at 11 ¶ 35, at 32 ¶ 24). Prior to the drug court's

opening, the Pittsfield Probation Department had a long-standing relationship with CC through

the probation officers' daily work monitoring the defendants who were ordered by the court to

serve their probationary sentences with CC (Dkt. No. 100 at 11 ¶ 35, at 32 ¶¶ 24, 25). Contrary

to the best practices for drug courts, CC was not a licensed treatment facility and was "'more of a

punitive model'" than the facilities that were deemed appropriate to treat drug court participants

(Dkt. No. 100 at 33 ¶¶ 29, 30, 33). Reiss opined that CC "'may have been antithetical'" to the

drug court's goals (Dkt. No. 100 at 33 ¶ 34, at 44 ¶¶ 136, 139). However, the Pittsfield probation

officers believed that CC was a suitable substance abuse treatment option for drug court

participants (Dkt. No. 100 at 33 ¶ 31).

       During Reiss' meeting with DiSessa on September 28, 2016 concerning Probation's

relationship with Plaintiff, DiSessa reported on his meeting with Probation on the previous day

(Dkt. No. 100 at 44 ¶ 136). Stracuzzi wanted drug court participants to be treated by CC (Dkt.

No. 100 at 44 ¶ 136). Judge William Rota's September 28, 2016 email message to Estes

concerning that meeting indicated: "'We should chat a bit about your team and [Plaintiff]. I'm

not sure they [probation] are playing nice with her. . . It looked like they did not invite her to that

meeting yesterday [with Probation, the District Attorney's office, and CC] until someone

mentioned her and then [Stracuzzi] ran out to get her mid-meeting'" (Dkt. No. 100 at 44 ¶ 141, at

45 ¶ 144). Estes agreed with Judge Rota's assessment that "'the team is not playing nice with




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[Plaintiff]'" and that it appeared that she was not invited to the meeting (Dkt. No. 100 at 44 ¶

142).4

         After a two-day drug court conference on November 16 and 17, 2016, which Estes,

Plaintiff, Stracuzzi, Lander, and Carnevale attended, the probation officers complained to Deputy

Commissioner of Probation Michael Coelho about Plaintiff's alleged statement concerning CC

(Dkt. No. 100 at 49 ¶ 174, at 53 ¶ 217). Coelho, in turn, contacted Barber and reported that

Plaintiff said that DMH thought it was a "'bad idea'" for drug court participants to be involved

with CC (Dkt. No. 100 at 53 ¶ 218). Barber then reported that information to Reiss and asked

her to follow up with Plaintiff (Dkt. No. 100 at 53 ¶ 219). On November 22, 2016, Reiss

discussed the matter with Plaintiff, who denied making the statement (Dkt. No. 100 at 53 ¶ 220,

at 54 ¶ 221). Plaintiff was not disciplined (Dkt. No. 100 at 54 ¶ 222). Reiss offered Plaintiff

advice: "'both [Plaintiff] and . . . Estes were new to the Pittsfield Court and could be regarded

with suspicion as outsiders if [Plaintiff] did not make an effort to accept the point of view of her

Pittsfield colleagues'" (Dkt. No. 100 at 54 ¶ 223). Reiss directed Plaintiff to be "'more political'"

and less ethical when interacting with Probation (Dkt. No. 100 at 54 ¶ 223). Plaintiff interpreted

Reiss' comment as a direction to accept Probation's recommendations for drug court participants

even if they conflicted with Estes' direction to follow best practices (Dkt. No. 100 at 54 ¶ 223).



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  In addition to Judge Rota, Thomas Stanford, who worked at a treatment facility that served
drug court participants, and Jennifer Tyne, the supervisor of the Committee for Public Council
Services' ("CPCS") office in the Pittsfield District Court, observed the probation officers'
disrespectful treatment of Plaintiff (Dkt. No. 46 ¶¶ 153, 155). Stanford told Reiss that the
probation officers were not receptive to Plaintiff's treatment recommendations (Dkt. No. 100 at
46 ¶ 154). Tyne observed that probation officers treated Plaintiff "'poorly, picked arguments
with her on irrelevant matter[s] and tended to "push her around"'" (Dkt. No. 100 at 46 ¶ 155, at
71 ¶ 359). According to Tyne, "it was not at all a secret that the probation department did not
like [Plaintiff] and that they made her presence within the drug team difficult'" (Dkt. No. 100 at
46 ¶ 155, at 71 ¶ 359).


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       G.      Plaintiff's Removal from the Drug Court Team in March 2017

       The Pittsfield Drug Court's weekly staffing meetings continued from November 2016 to

March 2017 (Dkt. No. 100 at 58 ¶ 253). Reiss and DiSessa were not aware of any problems

between Plaintiff and Probation during that period (Dkt. No. 100 at 58 ¶¶ 251, 252, at 69 ¶ 335).

       The drug court team discussed Pittsfield Drug Court participant DS's status at a February

2017 staffing meeting, which attorney Alex Bianchi, the Sheriff's Office Liaison to the drug

court team, attended (Dkt. No. 100 at 59 ¶¶ 256, 257). DS was being held at the county jail

pending the availability of a treatment bed (Dkt. No. 100 at 59 ¶¶ 255, 258). Bianchi reported

that DS was "'first on the waitlist'" for a bed at Keenan House, a long-term treatment facility, and

that there was a five-week waiting period for a bed (Dkt. No. 100 at 59 ¶¶ 255, 258). Plaintiff

met with DS at the jail after the February 2017 staffing meeting and learned his history: he

participated in MassHealth; he had overdosed seven times; and he preferred to be in a residential

treatment program that was near his family (Dkt. No. 100 at 59-60 ¶ 260). Keenan House fit that

description (Dkt. No. 100 at 59-60 ¶ 260).

       Because DS was still waiting for a treatment bed three weeks later, Plaintiff called

Mailler who reported that the waiting period for treatment beds was longer than usual because

patients were extending their stays in facilities during the harsh winter (Dkt. No. 100 at 59 ¶¶

254, 259, at 60 ¶ 261). Plaintiff also contacted Clinical Director Ellery Sheryll at a short-term in-

patient substance abuse treatment facility, the Clinical Stabilization and Support Treatment

Center ("CSS"), in Pittsfield (Dkt. No. 100 at 59 ¶ 255, at 60 ¶ 262). Participants in MassHealth

were permitted to stay at CSS for two weeks (Dkt. No. 100 at 59 ¶ 255). Sheryll allegedly told

Plaintiff that Keenan House gave priority to those individuals who came directly from the jail




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and if an individual went to CSS first, he would lose his place on Keenan House's waitlist and

would go to the end of the list (Dkt. No. 100 at 60 ¶ 262).

       At the March 16, 2017 staffing meeting, Probation advocated for DS to be placed at CSS,

but Plaintiff supported keeping DS at the jail until a Keenan House treatment bed became

available (Dkt. No. 100 at 60 ¶ 263). Plaintiff was concerned that if DS was admitted to CSS

and a Keenan House bed was not available when he was released from CSS two weeks later, he

would be "back out on the street" and in danger of overdosing again (Dkt. No. 100 at 60 ¶ 263).

In addition, DS preferred to stay in jail until a bed became available at a long-term treatment

facility near his family (Dkt. No. 100 at 59-60 ¶¶ 260, 263). Estes decided that DS should

remain in jail (Dkt. No. 100 at 60 ¶ 263).

       Later that day, Carnevale called Plaintiff a "'liar'" and Lander yelled at her in the presence

of other probation officers (Dkt. No. 100 at 60 ¶ 264). The probation officers indicated that,

according to "'Debbie'" at Keenan House, Plaintiff conveyed false information about treatment at

CSS negatively affecting DS's place on Keenan House's waitlist (Dkt. No. 100 at 60 ¶ 264).

Plaintiff indicated that she related the information that Sherryl had provided, which Sherryl

repeated at a meeting with Plaintiff and Carnevale later that day (Dkt. No. 100 at 60 ¶¶ 264,

265). Estes was aware that the probation officers were angry with Plaintiff after the March 16,

2017 meeting, but Lander told Estes not to worry about it because it did not involve him (Dkt.

No. 100 at 60 ¶ 266, at 63-64 ¶ 289).

       Without consulting Estes, Stracuzzi called his supervisor, Coelho, and recommended that

Plaintiff be removed from her position as the drug court's clinician (Dkt. No. 100 at 18 ¶ 61, at

61 ¶¶ 267, 268). Coelho then called DMH Director Matthew Broderick who reported the

complaint to Barber (Dkt. No. 100 at 19 ¶ 63, at 61 ¶ 269). After Barber spoke to Coelho, he



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contacted Reiss and Stracuzzi and requested a meeting for the following day because the

relationship between Plaintiff and the probation officers sounded like "'a house on fire'" (Dkt.

No. 100 at 19 ¶¶ 63, 65, at 61 ¶ 270).

       Estes recalled speaking to Barber on March 16, 2017 about the meeting that was

scheduled for the next day to discuss the problems between Plaintiff and Probation (Dkt. No. 100

at 61 ¶ 272). Estes told Barber that Plaintiff was a "'top notch'" clinician but she did not get

along well with others (Dkt. No. 100 at 61 ¶ 274). Estes did not report his conversation with

Barber to Plaintiff (Dkt. No. 100 at 61 ¶ 275).

       On March 17, 2017, Reiss, Barber, Stracuzzi, and Lander met to discuss Plaintiff without

her knowledge (Dkt. No. 100 at 61 ¶ 276, at 62 ¶ 277). Estes did not attend the meeting (Dkt.

No. 100 at 19 ¶ 64). According to Reiss' Supervision Note, Stracuzzi and Lander were "most

concerned that [Plaintiff's] poor communication, misinformation, and [shirking of] her own job

responsibilities were disrupting the flow of services to Drug Court participants" who remained

incarcerated at the county jail for extended periods while awaiting treatment beds (Dkt. No. 100

at 20 ¶ 68, at 62-63 ¶ 286). Reiss noted that the probation officers alleged that, in DS's case,

Plaintiff received information about Keenan House from Debbie, who was on the staff of that

facility, and that Lander received contrary information from the same person (Dkt. No. 100 at 63

¶ 286). Lander indicated that Plaintiff's allegedly false representation about Keenan House

during the discussion of DS was "'pretty much [his] last straw'" (Dkt. No. 100 at 63 ¶ 288).

       Plaintiff was not notified of the complaint or Reiss' Supervision Note despite BHN's

policy that an employee must sign a disciplinary note (Dkt. No. 100 at 62 ¶¶ 282, 283, at 64 ¶

290). No one contacted Estes, the Sheriff's Department, CSS, or Keenan House to determine the

accuracy of the probation officers' representations (Dkt. No. 100 at 64 ¶¶ 291, 292).



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        Reiss and Barber reported that they were "'kind of blown away . . . '" by what Probation

reported at the meeting (Dkt. No. 100 at 19 ¶ 67, at 64 ¶ 293). They determined that Plaintiff

"'didn't seem like . . . a good fit'" for the drug court position and could not return to the Pittsfield

Drug Court because there was '"too much bad blood'" (Dkt. No. 100 at 64 ¶ 293). After their

conversation, Barber indicated that Estes should be notified that Plaintiff would be removed from

the drug court job because he participated in hiring her (Dkt. No. 100 at 64 ¶ 294).

         Although Reiss testified that it was Barber's decision to remove Plaintiff from her

position at the drug court, Reiss' October 23, 2017 email to Barber, which her BHN supervisors

had approved, indicated that she and Barber mutually agreed that Plaintiff should be replaced

(Dkt. No. 100 at 65 ¶¶ 301-03). On Friday, March 17, 2017, without first consulting Plaintiff's

direct supervisor, DiSessa, Reiss told Plaintiff that she was being placed on administrative leave

and could not report to the Pittsfield Drug Court on Monday because there had been "'a

complaint'" about her (Dkt. No. 100 at 64 ¶ 298, at 65 ¶ 305). Reiss refused to discuss the details

of the complaint, but told Plaintiff that they would meet during the following week (Dkt. No. 100

at 65 ¶¶ 305, 306). Plaintiff then called Estes who indicated that he did not know the reason for

Plaintiff's removal from her drug court position (Dkt. No. 100 at 65 ¶ 306).

        Estes' and Barber's memories differed concerning their March 17 telephone conversation

when Barber notified Estes that Plaintiff was no longer assigned to the drug court (Dkt. No. 100

at 65-66 ¶¶ 307-12). Estes recalled that he was "very surprised" by Barber's announcement that

Plaintiff had been removed from her position due to Probation's complaints about her job

performance (Dkt. No. 100 at 65 ¶ 308, at 66 ¶ 312). According to Barber, when he delivered

the news during a conversation in which Estes "rambled," Estes allegedly said, "'Well, that's too




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bad. She's a good girl, but she has a tendency to piss off a lot of people'" (Dkt. No. 100 at 21 ¶

74, at 66 ¶ 311).

       Reiss got in touch with Plaintiff on Monday, March 20, 2017 and asked Plaintiff to meet

with her and Claudia Muradian Brubach, the BHN Human Resources Director, the next day

(Dkt. No. 100 at 66-67 ¶ 314). Reiss again refused to provide Plaintiff with the reason for her

placement on administrative leave and told Plaintiff that her supervisor, DiSessa, could not

attend the meeting (Dkt. No. 100 at 66-67 ¶ 314). During the March 21, 2017 meeting, Reiss did

not disclose the reason for Plaintiff's removal from the drug court position but told Plaintiff that

there had been "problems" with Probation and referenced her November 2016 conversation when

she told Plaintiff to be more "political" (Dkt. No. 100 at 21 ¶ 76, at 68 ¶ 331). Plaintiff asked

Reiss to contact CSS's Clinical Director Sheryll to corroborate the information that Sheryll had

conveyed to Plaintiff concerning the availability of treatment beds for incarcerated drug court

participants, which Plaintiff had reported during the March 16 drug court team's discussion of

DS (Dkt. No. 100 at 68 ¶ 332). Although Brubach directed Reiss to contact Sheryll, Reiss did

not do so (Dkt. No. 100 at 69 ¶¶ 333, 334).

       At Plaintiff's request, Estes contacted Judge Hogan Sullivan, the Director of the Trial

Court's Specialty Courts, who reported that Plaintiff was removed due to complaints from the

probation department and that only Probation and DMH were involved in Plaintiff's dismissal

(Dkt. No. 100 at 67 ¶ 317). Estes also contacted Reiss at Plaintiff's behest (Dkt. No. 100 at 67 at

¶ 319). On March 23, 2017, Estes allegedly told Reiss that Plaintiff "'did a lot of good things for

this program. There were some issues. Anyway, we're moving on'" (Dkt. No. 100 at 67 ¶ 321).

       Plaintiff met with Reiss and Brubach again on March 30, 2017 in an effort to understand

the reason for her removal from the drug court (Dkt. No. 100 at 70 ¶¶ 343, 345). Reiss and



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Brubach did not offer specific reasons for Plaintiff's removal but told her that she was not being

disciplined (Dkt. No. 100 at 70 ¶ 346). During Plaintiff's tenure at the Pittsfield Drug Court, she

received positive performance reviews from Estes, Stracuzzi, Reiss, DiSessa, and Mailler (Dkt.

No. 100 at 38 ¶ 82, at 46-47 ¶¶ 156-73). After Plaintiff’s removal from the drug court position,

Reiss offered her full-time employment within other BHN departments (Dkt. No. 100 at 22 ¶

78).

       Plaintiff began treating patients with mental health and substance abuse issues at BHN's

Sloan Clinic after her March 30, 2017 meeting with Reiss and Brubach (Dkt. No. 100 at 22 ¶¶

79, 80, at 48 ¶ 167, at 71 ¶ 358). Her salary for the Sloan Clinic work was less than her drug

court salary (Dkt. No. 100 at 71 ¶ 358).

       DiSessa replaced Plaintiff as the Pittsfield Drug Court's clinician on March 30, 2017

(Dkt. No. 100 at 72 ¶ 367). The next day, DiSessa emailed Reiss and Brubach to memorialize

his recent conversation with Estes (Dkt. No. 100 at 72 ¶ 369). According to DiSessa, Estes

indicated that the atmosphere surrounding the drug court team had "'completely changed'" since

Plaintiff's removal (Dkt. No. 100 at 72-73 ¶ 369). The "tension" was gone (Dkt. No. 100 at 73 ¶

369). Estes reported that Plaintiff "'had no people skills'" and "'he had received many complaints

about her'" from the court clerk's office and from correctional officers (Dkt. No. 100 at 73 ¶ 369).

Probation allegedly accepted DiSessa as a member of the drug court team notwithstanding the

fact that they had complained about Plaintiff performing the same assessments and

recommending that participants remain in custody pending the availability of a treatment bed

(Dkt. No. 100 at 73-74 ¶¶ 372-77).

       On April 21, 2017, Plaintiff left her position at the Sloan Clinic and began employment

as a Program Director with Spectrum Healthcare in Baxley, Georgia (Dkt. No. 100 at 22 ¶ 83).



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       H.      Estes' Inappropriate Sexual Relationship with Plaintiff

       Plaintiff, Estes, and other members of the Pittsfield Drug Court team attended a two-day

state-wide drug court conference in Marlboro, Massachusetts on November 16 and 17, 2016

(Dkt. No. 100 at 49 ¶ 174). Plaintiff and Estes consumed alcohol on the evening of the first day

of the conference (Dkt. No. 100 at 49 ¶¶ 176-77, 179, 182). While they were alone at the dinner

table, Estes suddenly began rubbing Plaintiff's arm and told her that she was "'adorable'" and

"'attractive'" (Dkt. No. 100 at 49 ¶¶ 178, 180).

       Plaintiff asked Estes to walk her to her hotel room at the end of the evening (Dkt. No. 100

at 49-50 ¶ 183). From her hotel room, Plaintiff sent Estes a text message asking him to come to

her room to fix the television's remote control (Dkt. No. 100 at 50 ¶ 185). Estes complied with

Plaintiff's request (Dkt. No. 100 at 50 ¶ 186). Estes, who was "extremely" intoxicated, undressed

and allegedly forced Plaintiff to perform oral sex on him (Dkt. No. 100 at 23 ¶ 86, at 50 ¶¶ 188,

189). He then went to his hotel room (Dkt. No. 100 at 50 ¶ 189).

       Plaintiff left the conference the next day feeling "uncomfortable, ashamed, and confused"

about the encounter with Estes (Dkt. No. 100 at 50 ¶ 190). Estes sent her a text message telling

her that if anyone saw him entering or leaving her hotel room on the previous night, he was

going to tell them that he walked her to her room, they talked for a minute about drug court and

said goodnight. He asked if that "'[s]ound[ed] good?'" (Dkt. No. 100 at 50 ¶ 191). Estes also

called Plaintiff and told her that it would be "'worse for'" her in drug court and she would lose

"'credibility'" with the drug court's probation officers if others learned of the incident in her hotel

room (Dkt. No. 100 at 50 ¶ 192).

       The following week, Estes invited Plaintiff to his chambers in Belchertown to discuss

drug court matters (Dkt. No. 100 at 50 ¶ 193). She passed the court staff en route to Estes'



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chambers (Dkt. No. 100 at 50 ¶ 194). After they discussed the drug court, Estes closed the door,

drew the blinds, and asked her to "'continue what they started'" (Dkt. No. 100 at 51 ¶ 195). He

allegedly promised that if Plaintiff performed oral sex on him, he would not ask her to do it again

and would assist her with the problems that she was having with the Pittsfield probation officers

(Dkt. No. 100 at 51 ¶ 195). Feeling "pressured," Plaintiff agreed to Estes’ request (Dkt. No. 100

at 51 ¶ 196). She felt "degraded and humiliated" (Dkt. No. 100 at 51 ¶ 197). Thereafter, Estes

assisted Plaintiff in navigating her relationship with Probation (Dkt. No. 100 at 40 ¶ 106, at 51 ¶¶

198-201).

       From November 2016 to March 17, 2017, the date Plaintiff' was placed on administrative

leave from her drug court position, Plaintiff performed oral sex on Estes either in his

Belchertown lobby or in her Westfield apartment (Dkt. No. 100 at 23 ¶¶ 88, 89, at 51-52 ¶ 203,

at 65 ¶ 304). Plaintiff initiated text message exchanges with Estes that alluded to their sexual

relationship (Dkt. No. 100 at 24-25 ¶ 94). During the drug court staffing meetings that were held

after their sexual encounters, Estes allegedly intervened with Probation on Plaintiff's behalf and

accepted her treatment recommendations (Dkt. No. 100 at 52 ¶ 204). On the other hand, if

Plaintiff expressed reluctance to perform oral sex, he purportedly sided with Probation

concerning treatment decisions and rejected Plaintiff's suggestions (Dkt. No. 100 at 52 ¶ 204).

       Plaintiff's and Estes' last sexual encounter occurred in Estes' Belchertown chambers on

July 3, 2017 when Plaintiff visited Massachusetts from her home in Georgia (Dkt. No. 100 at 24

¶ 92). After that liaison, Plaintiff send Estes a text message saying that she wanted to end their

relationship because it was one-sided (Dkt. No. 100 at 52 ¶ 210). Estes agreed (Dkt. No. 100 at

52 ¶ 211).

       III.    LEGAL STANDARD



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        The purpose of summary judgment is "'to pierce the pleadings and to assess the proof in

order to see whether there is a genuine need for trial.'" Garside v. Osco Drug, Inc., 895 F.2d 46,

50 (1st Cir. 1990) (citation omitted). "Summary judgment is appropriate when, based on the

pleadings, discovery, and disclosure materials in the record, 'there is no genuine dispute as to any

material fact and the moving party is entitled to judgment as a matter of law.'" Ruggiero v. Am.

United Life Ins. Co., 137 F. Supp. 3d 104, 111 (D. Mass. 2015) (quoting Fed. R. Civ. P. 56(a),

(c)). "A 'genuine' dispute is one that, based on the supporting evidence, 'a reasonable [fact

finder] could resolve . . . in favor of the nonmoving party,' and a 'material' fact is one that has 'the

potential to affect the outcome of the suit under the applicable law.'" Id. at 111-12 (quoting

Sanchez v. Alvarado, 101 F.3d 223, 227 (1st Cir. 1996) (citations and quotation marks omitted)).

        When reviewing a motion for summary judgment, the court views the facts "in the light

most favorable to the non-moving party." Zambrana–Marrero v. Suarez–Cruz, 172 F.3d 122,

125 (1st Cir. 1999). "If the moving party satisfies the burden of showing, based on evidentiary

material, that there is no genuine issue of material fact, the burden shifts to the nonmoving party

to demonstrate by reference to specific provable facts 'that a reasonable jury could return a

verdict for the nonmoving party.'" Ruggiero, 137 F. Supp. 3d at 112 (quoting Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)); see Celotex Corp. v. Catrett, 477 U.S. 317, 324

(1986). "[C]onclusory allegations, improbable inferences, and unsupported speculation" are

insufficient to establish a genuine dispute of material fact. Medina–Munoz v. R.J. Reynolds

Tobacco Co., 896 F.2d 5, 8 (1st Cir. 1990).

        IV.     ANALYSIS

        A.      Count II: Sex Discrimination/Creation of a Hostile Work Environment in
                Violation of Title VII




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       Plaintiff alleges that her employer, BHN, violated Title VII's prohibition against sexual

harassment by failing to remedy the hostile work environment to which she was subjected by

Estes. BHN argues that it is entitled to summary judgment because it cannot be held liable for

harassment of which it had no actual or constructive knowledge.

       Under Title VII it is unlawful for an employer

       to discriminate against any individual with respect to [her] compensation, terms,
       conditions, or privileges of employment, because of such individual's race, color,
       religion, sex or national origin.

42 U.S.C. § 2000e–2(a)(1). An employee can prove discrimination under Title VII by

establishing that sexual harassment created a hostile work environment. See Harris v. Forklift

Sys., Inc., 510 U.S. 17, 21 (1993) ("When the workplace is permeated with discriminatory

intimidation, ridicule, and insult that is sufficiently severe or pervasive to alter the conditions of

the victim’s employment and create an abusive working environment, Title VII is violated.")

(citations and internal quotation marks omitted); McDonnell v. Cisneros, 84 F.3d 256, 259 (7th

Cir. 1996) ("When a female worker is sexually harassed by male coworkers or supervisors, the

result is to make the workplace less bearable for her because she is a woman than it is for the

men who work beside her and, being male, are not harassed.") (citing Meritor Sav. Bank v.

Vinson, 477 U.S. 57, 66–67 (1986)).

       To succeed under Title VII with a claim of discrimination based on a hostile work

environment, a plaintiff must show:

       "(1) that she is a member of a protected class; (2) that she was subjected to unwelcome
       sexual harassment; (3) that the harassment was based upon sex; (4) that the harassment
       was sufficiently severe or pervasive so as to alter the conditions of plaintiff’s
       employment and create an abusive work environment; (5) that sexually objectionable
       conduct was both objectively and subjectively offensive, such that a reasonable person
       would find it hostile or abusive and the victim in fact did perceive it to be so; and (6) that
       some basis for employer liability has been established."



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Brissette v. Franklin Cty. Sheriff’s Office, 235 F. Supp. 2d 63, 85 (D. Mass. 2003) (quoting

O'Rourke v. City of Providence, 235 F.3d 713, 728 (1st Cir. 2001), citing Faragher v. City of

Boca Raton, 524 U.S. 775, 787–89 (1998)). For purposes of BHN’s summary judgment motion,

BHN does not dispute that Plaintiff was subjected to a hostile work environment (Dkt. No. 102 at

5). Instead, BHN challenges the sufficiency of Plaintiff's evidence concerning its knowledge of

the circumstances in which she was working.

       "In order to establish liability under Title VII, plaintiff must present sufficient evidence to

show that the discriminatory conduct at issue can be attributable to her employer." Acosta v.

Harbor Holdings & Operations, Inc., 674 F. Supp. 2d 351, 370 (D.P.R. 2009). Although BHN

did not employ Estes, it does not take contest Estes' possible status as Plaintiff's supervisor or

coworker under a joint employment theory (Dkt. No. 86 at 18). In any event, an employer may

be subject to liability for harassment by a non-employee if the plaintiff shows that her employer

either knew or should have known of sexual harassment and failed to address it. See Roy v.

Correct Care Sols., LLC, 914 F.3d 52, 68 (1st Cir. 2019) ("Liability for a discriminatory

environment created by a non-employee 'depends on whether the employer knew or should have

known of the hostile work environment and took reasonable measures to try to abate it.'")

(quoting Gardner v. CLC of Pascagoula, LLC, 894 F.3d 654, 663 (5th Cir. 2018)); Medina v.

Adecco, 561 F. Supp. 2d 162, 178 (D.P.R. 2008) ("To prevail under a theory of joint employer

liability, plaintiff must show that defendant knew or should have known of the discriminatory

conduct and failed to take prompt corrective measures within its control."). BHN contends that it

is entitled to judgment as a matter of law because Plaintiff has failed to sustain her burden to

show that BHN's "management-level employees" had either actual or constructive knowledge of




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the inappropriate relationship Estes initiated and maintained with her. Rivera v. Telefonica de P.

R., 913 F. Supp. 81, 87 (D.P.R. 1995).

               1.      Plaintiff has not developed evidence that BHN had actual notice of
                       the alleged sexual harassment.

       "An employer has actual notice of harassment when sufficient information either comes

to the attention of someone who has the power to terminate the harassment, or it comes to

someone who can reasonably be expected to report or refer a complaint to someone who can put

an end to it." Sandoval v. Am. Bldg. Maint. Indus., Inc., 578 F.3d 787, 802 (8th Cir. 2009)

(citing Young v. Bayer Corp., 123 F.3d 672, 674 (7th Cir. 1997)). "In the context of sexual

harassment claims, '[a]ctual notice is established by proof that management knew of the

harassment.'" Id. (alteration in original) (quoting Watson v. Blue Circle, Inc., 324 F.3d 1252,

1259 (11th Cir. 2003)). "There is no actual knowledge until someone 'with authority to address

the problem' is notified." Sharp v. City of Houston, 164 F.3d 923, 929 (5th Cir. 1999) (citation

omitted).

       There is no evidence that Plaintiff notified BHN of the inappropriate relationship.

Although Plaintiff signed the Acknowledgment of Receipt of BHN's employment policies,

including its sexual harassment policy, on July 18, 2016, she did not file a sexual harassment

complaint with BHN during her BHN employment (Dkt. No. 100 at 26 ¶¶ 96-98, at 57 ¶ 243).

Estes did not tell anyone about the inappropriate relationship and Plaintiff did not report it to

anyone with whom she had a professional relationship, including Barber, Reiss, DiSessa, or

Mailler, or any member of the Pittsfield Drug Court team (Dkt. No. 100 at 26 ¶¶ 99, 100, 101, at

27 ¶ 103, 104, at 28 ¶¶ 109, 110).5



5
 Plaintiff points to evidence that Reiss viewed Plaintiff as a "'psychologically unwell person'" to
support her contention that Reiss would not have believed Plaintiff if she had reported Estes'
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               2.      Plaintiff has not developed sufficient evidence of BHN's constructive
                       knowledge of the alleged sexual harassment.

       Plaintiff makes the following arguments to support her claim that BHN had constructive

notice of the sexual harassment: (a) Mailler sent Plaintiff a message from which it can be

inferred that she suspected the inappropriate relationship; (b) if Reiss and DiSessa had

adequately supervised Plaintiff, they would have discovered the inappropriate relationship; (c)

BHN removed Plaintiff from her drug court position despite her positive performance reviews

and without adequate investigation; and (d) Reiss and DiSessa’s destruction of their notes related

to Plaintiff could give rise to an inference they knew she intended to file a sexual harassment

complaint. Plaintiff's proffered evidence in support of these contentions does not meet the

standard that is necessary to defeat summary judgment.

       "Constructive notice may be found where an employee provides management level

personnel with enough information to raise a probability of harassment in the minds of a

reasonable employer, or where the harassment is so severe and pervasive that under the facts of

the case, 'a reasonable employer would have had to be aware of it.'" Vizcarrondo-Gonzalez v.

Perdue, CIVIL NO. 16-2461 (PAD), 2020 WL 1459070, at *14 (D.P.R. Mar. 20, 2020) (quoting

Kunin v. Sears Roebuck & Co., 175 F.3d 289, 294 (3d Cir. 1999)). See Zimmerman v. Cook Cty.

Sheriff's Dep't, 96 F.3d 1017, 1018 (7th Cir. 1996) ("The plaintiff must prove that the employer

was negligent in having failed to discover and prevent [the harassment]."). "This standard strikes

an appropriate balance between protecting the rights of the employee and the employer by

faulting the employer for turning a blind eye to overt signs of harassment but not requiring it to




alleged harassment (Dkt. No. 99 at 52-53; Dkt. No. 100 at 57-58 ¶¶ 245-29). Plaintiff could,
however, have complained to another BHN supervisor, such as DiSessa or Mailler, who
functioned as her informal supervisor.
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attain a level of omniscience, in the absence of actual notice, about the misconduct."

Vizcarrondo-Gonzalez, 2020 WL 1459070, at *14. Plaintiff does not contend that Estes’

harassment "was so open and pervasive that a reasonable employer could not have been ignorant

of it" (Dkt. No. 109 at 38-39). Kunin, 175 F.3d at 295. Thus, in order to survive summary

judgment, Plaintiff must present evidence that BHN had "'enough information to make a

reasonable employer think there was some probability that she was being sexually harassed.'"

Vizcarrondo-Gonzalez, 2020 WL 1459070, at *14 n.35 (quoting Zimmerman, 96 F.3d at 1019).

       Estes urged Plaintiff to keep their relationship a secret by telling her that it would be

"'worse for'" her in drug court and she would lose "'credibility'" with the probation officers if

others learned the truth about their November 16, 2016 encounter in her hotel room (Dkt. No.

100 at 50 ¶ 192). After this first sexual encounter, Estes and Plaintiff hid their activities from

others by engaging in relations either in Estes' Belchertown chambers or in Plaintiff's apartment

in Westfield (Dkt. No. 100 at 23 ¶¶ 88, 89, at 51-52 ¶ 203, at 65 ¶ 304). There is no evidence

that anyone from the Pittsfield Drug Court or BHN was present in Belchertown when Estes

engaged Plaintiff in relations in his chambers. See Baker v. Int'l Longshoremen's Ass'n, Civil

Action No. CV205-162, 2009 WL 368650, at *8–9 (S.D. Ga. Feb. 13, 2009) ("'the remoteness of

the location of the harassment as compared to the location of management'" is a relevant factor in

determining constructive notice of sexual harassment) (quoting Miller v. Kenworth of Dothan,

Inc., 277 F.3d 1269, 1278-79 (11th Cir. 2002)).

       Plaintiff told DiSessa, Mailler, and Lander that she and Estes met privately in

Belchertown (Dkt. No. 100 at 39 ¶ 98, at 40 ¶¶ 99, 100). Without more, knowledge of private

meetings between professional colleagues of the opposite sex is not notice of probable sexual

harassment. There were no reports that Plaintiff and Estes engaged in overt conduct that



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suggested a sexual relationship or shared their intimate text messages with BHN employees or

members of the drug court team. Consequently, the information about the private meetings, by

itself, was insufficient to provide BHN with constructive notice that Plaintiff was being sexually

harassed.

               a.      Mailler's conversations with Plaintiff do not show that BHN had
                       constructive notice of an inappropriate relationship between
                       Plaintiff and Estes.

       Plaintiff alleges that a factfinder could infer from two of her conversations with Mailler

that Mailler suspected that Plaintiff and Estes were engaged in an inappropriate relationship

(Dkt. No. 99 at 46-47, at 50).

       For purposes of the summary judgment motion, BHN does not dispute that Mailler

functioned as Plaintiff's de facto supervisor (Dkt. No. 109 at 28). Plaintiff turned to Mailler for

guidance in dealing with her disagreements with Probation because Mailler had been working as

a specialty court clinician in the Greenfield and Orange Drug Courts for about a year when

Plaintiff was hired in July 2016 (Dkt. No. 100-58 at 10, 14). In response to Plaintiff's report of

her discussions with Estes concerning drug court matters, Mailer warned, "'Just be careful,

because, usually . . . you don't have a lot of contact with a judge, outside of a staffing, and that

might alienate [P]robation'" (Dkt. No. 100-58 at 18-19).

       On March 20, 2017, Plaintiff and Mailler discussed Plaintiff's placement on

administrative leave from the Pittsfield Drug Court via text messages. Their conversation, in

pertinent part, was as follows:

       Plaintiff: I found out through a source that [P]robation made complaints to DMH.

       Mailler: That explains things – so John [Barber] is taking action more so than Julie
       [Reiss].
       ...



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       Plaintiff: I'm going to ask [J]udge [E]stes to put in a call to John [Barber] if I have to.

       Mailler: I don't see how that would hurt unless [P]robation is complaining that you have
       a personal relationship with the judge that is influencing him.

       Plaintiff: That would be untrue. [H]e treats us all the same. He makes his decisions on
       the bench. Which is [sic] always been in favor of the defense attorney.

(Dkt. No. 108-1 at 35) (emphasis added).

       According to Plaintiff, Mailler's response concerning a possible "personal relationship"

between Plaintiff and Estes was sufficient evidence from which a reasonable factfinder could

infer that Mailler suspected that they were engaged in an inappropriate relationship. In the

court’s view, this text message exchange does not reflect “enough information to raise a

probability [of belief in] sexual harassment in the mind of a reasonable employer . . ." so as to

create a triable issue. Kunin, 175 F.3d at 294. When Mailler communicated with Plaintiff on

March 20, 2017, Mailler knew that Plaintiff and Estes had private discussions about drug court

matters and that those discussions might have been resented by Probation (Dkt. No. 100 at 40 ¶

99; Dkt. No. 100-58 at 19). Mailler testified that she had "no idea" about the inappropriate

relationship between Plaintiff and Estes (Dkt. No. 100-58 at 21-23). The text message does not

suggest otherwise.

       Given the steps that Estes and Plaintiff took to keep the relationship a secret, it is not

surprising that Plaintiff’s support for her contention that Mailler had sufficient knowledge of

sexual harassment is limited to Mailler's "personal relationship" statement and her knowledge of

Plaintiff's and Estes' private meetings. To sustain her burden of proof, a plaintiff "'must

affirmatively point to specific facts that demonstrate the existence of an authentic dispute.'"

Suarez v. Pueblo Int'l, Inc., 229 F.3d 49, 53 (1st Cir. 2000) (quoting McCarthy v. NW Airlines,

Inc., 56 F.3d 313, 315 (1st Cir. 1995). The evidence on which Plaintiff relies is not sufficient to



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support a reasonable inference that Mailler believed that Estes probably was sexually harassing

Plaintiff, particularly when Mailler's text message is viewed in the context of Plaintiff's report

that Probation was responsible for her discharge and Mailler's earlier warning that Plaintiff's

private meetings with Estes might further alienate Probation. Plaintiff's contrary contention

requires "impermissible guesswork and speculation." Justiniano v. Walker, 986 F.3d 11, 29 (1st

Cir. 2021). "Conclusions that rest wholly on speculation are insufficient to defeat a motion for

summary judgment." Ahern v. Shinseki, 629 F.3d 49, 58 (1st Cir. 2010).

               b.      Plaintiff’s inadequate supervision theory is not supported in law or
                       fact.

       Plaintiff next argues that if Reiss and DiSessa had adequately supervised Plaintiff in the

Pittsfield Drug Court instead of being notably absent, they should and would have known of

Plaintiff's and Estes' inappropriate relationship (Dkt. No. 99 at 50-53).

       Plaintiff did not work in BHN’s offices or at a location controlled by BHN. The parties

agree that Reiss and DiSessa, Plaintiff's indirect and direct supervisors respectively, did not

regularly observe Plaintiff's work in the Pittsfield Drug Court (Dkt. No. 100 at 36 ¶¶ 65, 66).

Plaintiff points to no caselaw in this or any other jurisdiction holding that the “knew or should

have known” standard can be satisfied by what is essentially a claim of negligent supervision of

an employee who worked remotely where there is no evidence of willful blindness to sexually

harassing conduct. Moreover, because Estes and Plaintiff hid their relationship from coworkers,

Plaintiff has no evidence tending to show that if Reiss and DiSessa had attended more staffing

meetings and drug court sessions, they would have observed conduct that would have put them

on notice of a hostile work environment. See Nash v. Electrospace Sys., Inc., 9 F.3d 401, 404

(5th Cir. 1993) ("The record . . . contains no evidence that [the offensive] conduct took place in

public, under the eye of co-workers or supervisors. It thus appears that the company did not

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know nor should it have known of [the] offensive [behavior]."); Long v. Tillotson Health Care

Corp., 968 F. Supp. 751, 754 (D.N.H. 1997) ("the very clandestine nature of [the employee's]

conduct undermines plaintiff's assertion that [her employer] should have known of the

harassment.").

       According to Plaintiff, if Reiss and DiSessa had exercised reasonable care by being at the

courthouse more often, they might have learned of the sexual harassment from probation officers

or Drug Court Session Clerk Amy Slattery (Dkt. No. 99 at 51-52). The record does not support

this contention. Reiss testified that after Plaintiff filed an MCAD complaint alleging sexual

harassment by Estes, she asked Lander whether he had "'any idea'" about the inappropriate

relationship between Plaintiff and Estes (Dkt. No. 100 at 52-53 ¶ 212). He responded, "'[P]eople

had suspicions but . . . nothing was enough to make anybody talk about it'" (Dkt. No. 100 at 53 ¶

212). Rumors and conjecture are insufficient to overcome summary judgment. See Palucki v.

Sears, Roebuck & Co., 879 F.2d 1568, 1572 (7th Cir. 1989). Plaintiff also alleges that Carnevale

heard her ask Estes to walk her to her hotel room on November 16, 2016 and saw them enter the

elevator in the hotel lobby (Dkt. No. 100 at 49-50 ¶¶ 183, 184). However, Plaintiff’s own

testimony is insufficient to establish that Carnavale heard or saw what Plaintiff alleges he heard

and saw. See Celotex Corp., 477 U.S. at 323; Fed. R. Evid. 602 ("A witness may testify to a

matter only if evidence is introduced sufficient to support a finding that the witness has personal

knowledge of the matter."). Plaintiff further suggests that a factfinder could reasonably infer that

Probation knew about the inappropriate relationship because probation officers complained to

Estes about Plaintiff before the November conference (to no avail) but stopped conferring with

him after the conference and because Estes' treatment of Plaintiff during staffing meetings

changed depending on whether she had agreed to his requests for sex (Dkt. No. 100 at 52 ¶ 204,



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at 53 ¶¶ 214-16). But, even if Carnevale witnessed the events in the hotel lobby and even if

probation officers suspected an inappropriate relationship, there is no evidence that any

probation officer voiced his or her observations or suspicions to BHN, Plaintiff's employer. See

Acosta, 674 F. Supp. 2d at 370.

       Plaintiff also points to evidence from Slattery to support the argument that drug court

team members knew of the inappropriate relationship. Slattery knew that Plaintiff and Estes met

privately in Estes' Pittsfield lobby and in Belchertown (Dkt. No. 100 at 55-56 ¶¶ 233, 235).

According to Slattery, Plaintiff did not follow the proper procedure for entering Estes' chambers

by seeking permission from the court staff before entering (Dkt. No. 100 at 56 ¶ 235), and if a

court officer tried to prevent Plaintiff from entering, she texted Estes who permitted her to enter

(Dkt. No. 100 at 55-56 ¶¶ 233, 235). Like other witnesses who knew about the private meetings,

Slattery did not report overhearing suggestive conversations or observing behavior indicating an

inappropriate relationship. Slattery related her observations to a trial court investigator after

Plaintiff filed the MCAD complaint, but there is no evidence that she conveyed information to

BHN while Plaintiff was employed at the drug court (Dkt. No. 100 at 55-56 ¶¶ 233, 235).

       Assuming solely for the sake of argument that Reiss and DiSessa had an obligation to

oversee Plaintiff’s workplace in person, the totality of the evidence on which Plaintiff relies is

insufficient to support her theory that they would have known that she was experiencing a hostile

work environment if they had visited Pittsfield more often. See Sharp, 164 F.3d at 931

("constructive knowledge inquires into what the [employer], in the exercise of reasonable care,

should have known."). Compare Cotto v. Gen. Acc. Ins. Co. of P.R. Ltd., 975 F. Supp. 410, 415

(D.P.R. 1997) (plaintiff's supervisor's observation of employee's suggestive behavior toward the

plaintiff was sufficient to permit a jury to conclude that if the supervisor had exercised



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reasonable care, she should have discovered that the employee was sexually harassing the

plaintiff).

               c.      There is no evidence of a connection between Plaintiff's discharge
                       from the drug court and Estes’ relationship with her.

        Plaintiff also argues that a factfinder could infer Reiss' knowledge of Plaintiff's and Estes'

inappropriate relationship because she decided to remove Plaintiff from her drug court position

in March 2017 (Dkt. No. 99 at 47-48). Plaintiff contends that because there was no legitimate

reason for her removal, Reiss's knowledge of the inappropriate relationship is the only

explanation for the employment action. This theory would require a fact finder to "pile inference

on inference, and engage in sheer speculation, to make [that] inferential leap." Paraka v. Univ.

of Rochester, 136 F. Supp. 3d 481, 486 (W.D.N.Y. 2015). Such "conjecture cannot take the

place of proof in the summary judgment calculus." Bennett v. Saint–Gobain Corp., 507 F.3d 23,

31 (1st Cir. 2007)

        Even under the plaintiff-favorable summary judgment standard, there is no evidence of a

connection between the inappropriate relationship and Plaintiff's reassignment. Rather, the

record evidence shows that Plaintiff's reassignment was the culmination of her contentious

relationship with the probation officers, which spanned her entire tenure at the drug court.

Probation allegedly opposed the creation of the Pittsfield Drug Court (Dkt. No. 100 at 30 ¶ 10, at

42 ¶ 122). Plaintiff met with resistance from Probation almost immediately after she began

working as the drug court clinician in July 2016 (Dkt. No. 100 at 15 ¶ 48, at 41 ¶¶ 111, 114). In

August and September 2016, Probation challenged Plaintiff's participation in treatment decisions

and wanted to exclude her from appearing at the drug court sessions (Dkt. No. 100 at 42 ¶¶ 120,

122, 123, 126, at 43 ¶¶ 130, 135, at 44 ¶¶ 141, 142). There is uncontroverted evidence from

which it can be inferred that the probation officers viewed Plaintiff as encroaching on their

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prerogative of recommending treatment for defendants (Dkt. No. 100 at 30 ¶ 6, at 33 ¶ 36, at 41

¶¶ 116, 117). Plaintiff and Probation were at odds over whether CC was an appropriate

treatment provider for drug court participants (Dkt. No. 100 at 33 ¶¶ 29- 31, 33, at 44 ¶ 136, at

45 ¶ 144). Probation excluded Plaintiff from discussions of CC's role in the drug court (Dkt. No.

100 at 44 ¶¶ 136, 141-42, at 45 ¶ 144). Immediately after the November 2016 drug court

conference, the probation officers contacted Coelho and accused Plaintiff of announcing that

DMH thought it was a "'bad idea"' to treat drug court participants through CC (Dkt. No. 100 at

53 ¶¶ 217, 218).

       The tension between Plaintiff and Probation resulted in Probation initiating Plaintiff's

removal from the drug court team in March 2017. Drug court participant DS, who was in

custody awaiting the availability of a treatment bed, was the subject of the drug court team's

staffing meeting on March 16, 2017 (Dkt. No. 100 at 59 ¶¶ 255, 258, at 60 ¶ 263). Plaintiff and

Probation disagreed concerning whether DS should be released from custody for treatment at

CSS, a short-term facility, or whether he should remain at the jail while waiting for an available

bed at Keenan House, a long-term facility (Dkt. No. 100 at 59 ¶ 255, at 60 ¶ 263). Estes agreed

with Plaintiff's recommendation that DS remain in custody while awaiting an available bed at

Keenan House (Dkt. No. 100 at 60 ¶ 263). After the drug court session, the probation officers

called Plaintiff a "'liar'" and accused her of presenting false information about the availability of

a bed at Keenan House for DS if he was admitted to CSS from the jail (Dkt. No. 100 at 60 ¶¶

262-64). Lander described that as "'his last straw'" (Dkt. No. 100 at 63 ¶ 288). Stracuzzi started

the removal process by contacting his supervisor, Coelho, and recommending that Plaintiff be

discharged from her drug court position (Dkt. No. 100 at 18 ¶ 61, at 61 ¶¶ 267, 268). After

hearing Probation's list of grievances about Plaintiff's job performance at a March 17, 2017



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meeting, Barber and Reiss agreed to remove Plaintiff from her position at the drug court (Dkt.

No. 100 at 20 ¶ 68, at 62-63 ¶ 286, at 65 ¶ 301-03).

       The conflict between Plaintiff and Probation was evident as early as July 2016 when

Plaintiff began working at the drug court. That was three to four months before Estes initiated

his first sexual encounter with Plaintiff. There is a veritable avalanche of evidence that

Probation’s dissatisfaction was the reason for Plaintiff’s removal from the drug court position

and it is uncontroverted. Even under the plaintiff-favorable view of the evidence, Plaintiff has

failed to sustain her burden of presenting evidence from which it can reasonably be inferred that

Probation, Barber, or Reiss knew or reasonably should have known about the inappropriate

relationship in March 2017 or that the relationship played a role when they decided to remove

Plaintiff from the drug court.

               d.      Reiss' and DiSessa's destruction of their notes do not give rise to
                       an inference that they knew of sexual harassment.

       Finally, Plaintiff contends that Reiss' and DiSessa's destruction of their handwritten notes

permits the inference that they knew about Estes’ inappropriate relationship with Plaintiff (Dkt.

No. 99 at 48-50). BHN argues that, although it may have anticipated litigation after Plaintiff's

discharge from the drug court, there is no basis for the inference that Reiss and DiSessa knew the

litigation would be based on a claim that Estes had created a hostile working environment.

       "Spoliation can be defined as the failure to preserve evidence that is relevant to pending

or potential litigation." Jimenez-Sanchez v. Caribbean Rests, LLC, 483 F. Supp. 2d 140, 143

(D.P.R. 2007). "[A] trier of fact may (but need not) infer from a party's obliteration of a

document relevant to a litigated issue that the contents of the documents were unfavorable to the

party." Testa v. Wal–Mart Stores, Inc., 144 F.3d 173, 177 (1st Cir. 1998). "Before such an

inference can materialize, the sponsor of the inference must proffer evidence sufficient to permit

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the trier of fact to find that the party against which the inference is sought to be made knew of (1)

the litigation or the potential of litigation and (2) the potential relevance of the missing evidence

to the litigation." Jimenez-Sanchez, 483 F. Supp. 2d at 143 (citing Testa, 144 F.3d at 177). See

Booker v. Mass. Dept. of Pub. Health, 612 F.3d 34, 45-46 (1st Cir. 2010).

       According to Plaintiff, Reiss destroyed twenty pages of handwritten notes, including her

notes of the March 17, 2017 meeting with Barber, Stracuzzi, and Lander concerning Plaintiff,

and her notes of her March 30, 2017 meeting with Plaintiff and Brubach (Dkt. No. 100 at 62 ¶¶

279-81, at 68 ¶¶ 322-27, at 70 ¶¶ 345-47). DiSessa, who made notes about Plaintiff, allegedly

"shredded" his handwritten notes "around March of 2017" (Dkt. No. 100 at 68 ¶¶ 328-29). In

support of her argument that BHN knew of the potential for litigation when the notes were

destroyed, Plaintiff focuses on a note Reiss wrote during her meeting with BHN Vice President

Susan West on April 5, 2017, nineteen days after Plaintiff was removed from her drug court

position (Dkt. No. 100 at 37 ¶ 70, at 56 ¶ 236). The handwritten note said, "'Mass. Commission

vs. Discrimination'" and "'Dave prob[lem]s-Don't put the whole hat on [Plaintiff]'" (Dkt. No. 100

at 56 ¶ 236).

       Although this is some evidence that Reiss suspected that Plaintiff was a disgruntled

employee who might file a complaint with the MCAD based on her removal from her drug court

assignment, there is no basis for Plaintiff's contention that Reiss or DiSessa were aware that any

such complaint would allege sexual harassment by Estes. When Reiss placed Plaintiff on

administrative leave on March 17, 2017, Reiss indicated that she knew that Plaintiff loved her

job at the drug court (Dkt. No. 100 at 65 ¶ 305). Plaintiff expressed her dissatisfaction with

Reiss' and Brubach's failure to explain the reasons for her removal from the drug court and to

follow BHN's procedures, which required a written warning before she was placed on



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administrative leave and the attendance of her supervisor, DiSessa, at the March 21, 2017

meeting with Reiss and Brubach (Dkt. No. 100 at 66 ¶ 314, at 68 ¶ 331, at 70 ¶ 346). In

addition, Plaintiff points out, Reiss did not contact Sheryll to corroborate the information that

Plaintiff gave to the drug court team about DS on March 16, 2017 even though Plaintiff and

Brubach asked Reiss to make that inquiry (Dkt. No. 100 at 68-69 ¶¶ 332-34). Given those facts

along with the evidence that Plaintiff had received positive performance reviews and was never

disciplined for her drug court work, Reiss was reasonably concerned that she might file an

MCAD complaint. Viewing the evidence in the light most favorable to Plaintiff, it might fairly

be inferred that Reiss and DiSessa knew of the potential for litigation when they destroyed their

notes (Dkt. No. 100 at 38 ¶ 82, at 46-49 ¶¶ 156-73, at 70 ¶ 346). Nonetheless, in the absence of

evidence that anyone employed by BHN had a reason to suspect that Estes was harassing

Plaintiff, Reiss’ concern about a possible MCAD complaint and the destruction of

contemporaneous notes cannot be transformed into evidence from which a factfinder could infer

that the notes would have reflected knowledge about Estes’ misconduct.6 See Testa, 144 F.3d at

177 (a suitable foundation must exist before an inference can be drawn that destroyed documents

would have been relevant to a pending claim, and would have hurt a party’s position).

       In sum, after extensive discovery including numerous depositions, Plaintiff has not

developed evidence from which a reasonable jury could find that BHN knew or should have



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 Plaintiff also makes a spoliation argument concerning Reiss’ Supervision Notes reflecting
discussions of Plaintiff's job performance. Although the notes were dated March and April 2017,
an examination of computer metadata appears to indicate that Reiss wrote them on September 28
and 29, 2017 and backdated them (Dkt. No. 100 at 69 ¶¶ 337-39, at 70 ¶¶ 349, 350, at 71 ¶ 359,
at 72 ¶¶ 360, 364-65). If the later dates are accurate, the notes were written after Plaintiff filed
her MCAD complaint on August 2, 2017 and BHN filed its position statement on September 20,
2017. Even if the notes were intended to shore up BHN’s account of Plaintiff’s work in the drug
court and BHN’s reasons for removing her, the notes do not fill the evidentiary gap as to BHN’s
knowledge of Estes’ harassing conduct (Dkt. No. 100 at 70 ¶ 340). See Testa, 144 F.3d at 177.
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known that Estes was harassing Plaintiff. Accordingly, BHN is entitled to summary judgment on

Count II.

       B.      Count IV: Sex Discrimination/Creation of a Hostile Work Environment in
               Violation of Mass. Gen. Laws ch. 151B

       Plaintiff contends that BHN's motion for summary judgment on Count IV should be

denied for the same reasons she advanced to deny the motion on the Title VII claim (Dkt. No. 99

at 53-54). The Massachusetts Supreme Judicial Court's approach to hostile work environment

claims brought under Mass. Gen. Laws ch. 151B, § 4(1) is, in all relevant respects, the same as

the Supreme Court's approach to Title VII claims. See Martinelli v. Bancroft Chophouse, LLC,

357 F. Supp. 3d 95, 102 (D. Mass. 2019) (citing Ponte v. Steelcase, Inc., 741 F.3d 310, 319 n.9

(1st Cir. 2014)).

       "[Chapter 151B] defines discrimination on the basis of sex to include sexual harassment."

Sauer v. Belfor USA Grp., Inc., 205 F. Supp. 3d 209, 214 (D. Mass. 2016) (citing Mass. Gen.

Laws ch. 151B, § 1(18)). See also Mass. Gen. Laws ch. 151B, § 4(1), (16A). Like Title VII,

Chapter 151B imposes liability on an employer for harassment by a co-worker or a non-

employee only if the employer "'knew or should have known of the charged sexual harassment

and failed to implement prompt and appropriate action.'" Sauer, 205 F. Supp. 3d at 218 (quoting

White v. N.H. Dep't of Corrs., 221 F.3d 254, 261 (1st Cir. 2000)). See also Posada v. ACP

Facility Servs., Inc., 389 F. Supp. 3d 149, 157 (D. Mass. 2019) ("Under both Title VII and

Chapter 151B, when a co-worker (rather than a supervisor) is responsible for creating a hostile

work environment, the employer is liable for the co-worker's misconduct only if the harassment

is causally connected to the employer's negligence. 'Typically, this involves a showing that the

employer knew or should have known about the harassment, yet failed to take prompt action to

stop it.'") (quoting Noviello v. City of Boston, 398 F.3d 76, 95 (1st Cir. 2005)); Modern

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Cont'l/Obayashi v. Mass. Comm'n Against Discrimination, 833 N.E.2d 1139-40 (Mass. 2005)

("[A]n employer may be held liable for failing to respond reasonably to acts of sexual

harassment of which it is aware or reasonably should be aware, even though the harassing acts

are perpetrated by someone who is not an agent or employee of the employer."). As is set forth

above, there is no evidence from which it can reasonably be inferred that BHN was negligent in

failing to discover that Estes was harassing Plaintiff. Accordingly, BHN is entitled to summary

judgment on Count IV.

       V.      CONCLUSION

       For the foregoing reasons, BHN's motion for summary judgment on Counts II and IV is

GRANTED (Dkt. No. 85).

       It is so ordered.

March 24, 2021                                              /s/ Katherine A. Robertson
                                                            KATHERINE A. ROBERTSON
                                                            U.S. MAGISTRATE JUDGE




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